
		OSCN Found Document:RE: Revocation of Certificates of Certified Shorthand Reporters

					

				
  



				
					
					
						
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				RE: Revocation of Certificates of Certified Shorthand Reporters2025 OK 27Decided: 04/28/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 27, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.



RE: Revocation of Certificates of Certified Shorthand Reporters


ORDER


On March 3, 2025, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2024 and/or with the annual certificate renewal requirements for 2025. See 2025 OK 14

The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2025, pursuant to 20 O.S., Chapter 20, App. I, Rules 20 and 23.

IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 28, 2025.

Francine Dais CSR #2000

Joni Humphries CSR #1236

Lorna Igert CSR #844

Sherry Jones CSR #1345

Carrie Trout CSR #159

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 28TH day of APRIL, 2025.


/s/ CHIEF JUSTICE



Rowe, C.J., Kuehn, V.C.J., Winchester, Edmondson, Combs, Gurich, Darby and Kane, JJ., concur.







	
		
			
				
					
			
				
				
								
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